                        MEMORANDUM CASE.
This action is a companion case to Hammond Lumber Co. v.Gilkey et al., Civil No. 620, in which the judgment of the trial court has been this day affirmed (ante, p. 252 [7 P.2d 724]). The appeal was brought by plaintiff and appellant Hammond Lumber Company from an order setting aside a judgment of foreclosure in a mechanic's lien case, which judgment had been entered after a default of the defendants against which the judgment was rendered had been duly entered by the clerk of the court. It was stipulated that the cases be heard on one reporter's transcript and one set of briefs.
[1] As the issues in both these cases are identical, upon the authority and for the reasons stated in the opinion in the case of Hammond Lumber Co. v. Gilkey et al., above referred to, the judgment appealed from is affirmed.
Barnard, P.J., and Marks, J., concurred.
A petition for a rehearing of this cause was denied by the District Court of Appeal on February 24, 1932.
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